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   8
   9                        IN THE UNITED STATES DISTRICT COURT
 10                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                    WESTERN DIVISION
 12
 13    VICTOR RUIZ,                                  2:21-cv-03300-DSF-RAO
 14                                     Plaintiff, STIPULATION FOR
                                                   VOLUNTARY DISMISSAL WITH
 15                   v.                           PREJUDICE
 16
       CORRECTION OFFICER STOUT,                     [Fed. R. Civ. P. 41(a)(1)(A)(ii)]
 17    et al.,
                                                     Judge:        The Honorable Rozella
 18                                  Defendants.                   A. Oliver
                                                     Action Filed: 4/14/2021
 19
 20            Plaintiff Victor Ruiz and Defendants C. Burkhammer, J. Stout, and M.
 21    Mangayao have resolved this case in its entirety. Therefore, the parties stipulate to
 22    a dismissal of this entire action with prejudice, in accordance with Federal Rule of
 23    Civil Procedure Fed. R. Civ. P. 41(a)(1)(A)(ii). The filing of this stipulation
 24    automatically terminates this action.
 25    /////
 26    /////
 27    /////
 28    /////

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                               CERTIFICATE OF SERVICE
 Case Name:                     Ruiz, Victor v. Stout, et al.
 USDC Case No.                  2:21-cv-03300-DSF-RAO

 I hereby certify that on October 6, 2023, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:
 STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
 Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.
 I further certify that some of the participants in the case are not registered CM/ECF users. On
 October 9, 2023, I have caused to be mailed in the Office of the Attorney General's internal mail
 system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
 a third party commercial carrier for delivery within three (3) calendar days to the following non-
 CM/ECF participants:

 Victor Ruiz
 6247 State Street
 Huntington Park, CA 90255
 In Pro Per

 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on October
 6, 2023, at San Diego, California.


                 A. Dotson
                 Declarant                                            Signature
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